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NAME. ADDRESS, AND TELEPHONE NUMBER OF AT'I`ORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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ATToRNEY(s) FOR= Plaintiff Alfonso Lares

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

ALFoNso LARES “"“E"UM“*“
Plaintiff(s).
V.
OF INTERESTED PARTIES
Defendam(s) (LOCal Rule 7.1-1)
TO: THE COURT AND ALL PARTIES OF RECORD:
The undersigned, counsel of record for ALFONSO LARES

 

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification

or recusal.

(List the names of all such parties and identify their connection and interest Use additional sheet if necessary.)

PARTY
Alfonso Lares

Reliable Wholesale Lumber, Inc.

]anuary 29, 2018
Date

 

Sig{'§\ture

CONNECTION / INTEREST
Plaintiff

Defendant

/

Attorney of record for (0r name of party appearing in pro per):

Plaintiff Alfonso Lares

 

 

CV-30 (05/13)

NOTICE OF INTERESTED PARTIES

